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                                  United States District Court
                                  Eastern District of Louisiana


 The State of Louisiana, et al.,
    Plaintiffs,                                      No. 2:23-cv-1839-DJP-JVM
 v.                                                  Judge Darrel James Papillon
 Department of Homeland
 Security, et al.,                              Magistrate Judge Janis Van Meerveld
    Defendants.

       Order Granting Plaintiff Texas’s Motion to Withdraw
                            Attorney


       On this date, the Court considered Plaintiff State of Texas’s Unopposed Motion to

Withdraw Leif A. Olson as Counsel. After considering the Motion, the Court is of the opinion that

the Motion should be GRANTED.


       Accordingly, it is ORDERED, ADJUDGED and DECREED that Leif A. Olson is hereby

withdrawn as counsel of record.


       SO ORDERED and SIGNED this day of ____________________, 2023.




                                            United States District Judge
